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~AO WB        (Rev. 9/00) Judgment            in a Criminal   Case
              Sheet!

                              UNITED STATES DISTRICT COU~T
                                                 SOUTHERN DISTRICT OF CALIFORNIA

              UNITED      STATES          OF AMERICA                  JUDGMENT IN A CRIMINAL CASE
                                   v.                                 (For Offenses Committed On or After November 1, 1987)

                         Alejandro      Arvizu                        Case Number:             06CRI642-W

                                                                      Elizabeth      Barros. Federal        Defenders   Inc.
                                                                      Defendant's   Attorney
REGISTRATION        NO. 96035      I 98
THE DEFENDANT:
X     pleaded guilty to count(s)          one of the indictment

     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                 Count
Title & Section                         Nature of Offense                                                                      Number(s)
2 I use 952 & 960; 18 use 2             Importation   of Marijuana                                                                 1




   The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant              to the
Sentencing Reform Act of 1984.
Count two of the indictment dismissed.


X   Assessment:         $ 100.00 payable forthwith.
X   Fine ordered waived.
         IT IS ORDERED that the defendant shall noti fy the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and specta! assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any materia! change
in the defendant's economic circumstances.
AO 245 B       Case      3:06-cr-01642-W
               (Re\'. 9/(0) Judgmcnt in Criminal Casc Document 27          Filed 01/09/07          PageID.117             Page 2 of 4
               Sheet 2 -   Imprisonment

                                                                                                      Judgment -   Page    2     of     .±

 DEFENDANT:                        Alejandro Arvizu
 CASE NUMBER:                      06CR 1642-W


                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
 12 months and I day.




o          The court makes the following recommendations to the Bureau of Prisons:




o          The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:

                                                   o a.m.        o p.m.         on

           o      as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       o          before 2 p.m. on

       o          as notified by the United States Marshal.

       o          as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

I have executed this judgment as follows:

       Defendant delivered on                                                             to

at   _________________                                , with a certified copy of this judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                           By
                                                                                            DEPUTY UNITED STATES MARSHAL
AO 245B      Case     3:06-cr-01642-W
             (Rev. 9100) Judgment in a Criminal Case Document 27                              Filed 01/09/07                PageID.118                Page 3 of 4
              Sheet 3 -     Supervised Release


   DEFENDANT:
                                                                                                                                   Judgment-Page           ~          of     --4
                                    Alejandro        Arvizu
   CASE NUMBER:                     06CR 1642- W
                                                                        SUPERVISED RELEASE

   Upon release      from imprisonment,            the defendant         shall be on supervised       release     for a term of 2     years.
                                                                  MANDATORY CONDITIONS

         The defendant shall report to the probation                    office in the district    to which the defendant        is released    within 72 hours ofrelease            from
   the custody of the Bureau of Prisons.
  The defendant           shall not commit       another     federal.    state or local crime.

  The defendant       shall not illegally        possess     a controlled      substance.
   For offellses COllllllilted Oil or after Septelllber / J. /994:

        The defendant shall refrain from any unlawful use of a controlled substance.    The defendant                                 shall submit to one drug test within
   15 days of release from imprisonment   and at least two periodic drug tests thereafter.

  D The above drug testing condition                       is suspended,      based on the court's      determination       that the defendant       poses a low risk of
          future substance       abuse.

          The defendant        shall not possess      a firearm,        destructive   device.    or any other dangerous        weapon.


                Drug testing requirements   will not exceed submission of more than eight drug tests per month during the term of supervision.
               unless ordered by the Court.
                The
               If thisdefendant
                       judgment shall cooperate
                                  imposes a fine as
                                                 or directed
                                                    a restitutionin the collection it of
                                                                     obligation,         a DNA
                                                                                      shall       sample, pursuant
                                                                                            be a condItion           to 18 release
                                                                                                           of supervised   USC 3583(d)
                                                                                                                                   that tne defendant pay
          any such fine or restitutIon that remains unpaid at the commencement               of the term of supervised release in accordance      with the
          Schedule of Payments set forth in this judgment.


       The defendant shall comply with the standard                         conditions      that have been adopted       by this court.       The defendant       shall also comply
  with any special conditions imposed.


                                             STANDARD CONDITIONS OF SUPERVISION

  I)      the defendant      shall not leave the judicial          district    without   the permission      of the court or probation         officer;

  2)      the defendant shall report to the probation               officer and shall submit a truthful            and complete     written    report within the first five days
          of each month;

  3)      the defendant      shall answer    truthfully       all inquiries     by the probation      officer and follow the instructions           of the probation          officer;
  4)      the defendant      shall support       his or her dependents          and meet other family responsibilities;
  5)      the defendant shall work regularly               at a lawful occupation,          unless excused      by the probation    officer for schooling,        training,     or other
          acceptable reasons;
  6)      the defendant      shall notify the probation          officer at least ten days prior to any change               in residence      or employment;
  7)   the defendant shall refrain from excessive                   use of alcohol and shall not purchase, possess, use, distribute, or administer                            any
       controlled substance or any paraphernalia                    related to any controlled substances, except as prescribed by a physician;
  8)   the defendant         shall not frequent      places where controlled             substances    are illegally     sold, used, distributed,         or administered;
  9)
       the adefendant
       of              shall granted
             felony, unless  not associate  with any
                                      permission      persons
                                                  to do  so by engaged   in criminal
                                                               the probation   officer; activity                       and shall not associate      with any person convicted

 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere                                       and shall permit confiscation
       of any contraband observed III plain view of the probation officer;
 II)   the defendant         shall notify the probation           officer     within seventy-two      hours of being arrested         or questioned         by a law enforcement
       officer;
 12)   the defendant shall not enter into any agreement                       to act as an informer     or a special     agent of a law enforcement            agency      without the
       permission of the court;
 13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics    and shall permit the probation officer to make such notifications and to
       confirm the defendant's   compliance  with such notification requirement.
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             Shcct 3 - Continucd 2 - Supcrviscd Rclcasc

                                                                                                   Judgment-Page    ----4- of ------4
DEFENDANT:                  Alejandro    Arvizu
CASE NUMBER:               06CRI642-W


                                                SPECIAL    CONDITIONS     OF SUPERVISION

           The defendant shall not possess firearms, explosive devices, or other dangerous weapons.
           The defendant shall submit to search of person, property, residence, abode or vehicle, at a reasonable time and in
           a reasonable manner, by the probation officer or other law enforcement officer.
-X..       The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
 X         The defendant shall not enter or reside in the Republic of Mexico without the permission of the probation officer.
 X         The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
           as directed by the probation officer. The defendant may be required to contribute to the costs of services rendered in an
           amount to be determined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
           exceed submission of more than eight drug tests per month during the term of supervtsion, unless by order of the Court.
 X         The defendant shall provide complete disclosure of personal and business financial records to the probation officer as
           requested.
 X         The defendant drive unless properly licensed.
